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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

Case No.        CV 13-00607-BRO (JCx)                                    Date      July 10, 2015
Title           Joe Braun et al v. Safeco Insurance Company of America et al


Present: The Honorable         BEVERLY REID O’CONNELL, United States District Judge
        Renee A. Fisher                       Not Present                               N/A
         Deputy Clerk                        Court Reporter                           Tape No.
         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                   Not Present                                          Not Present

Proceedings:            (IN CHAMBERS)

                        ORDER RE DISMISSAL

          A Notice of Settlement was filed on April 10, 2015. (Dkt. No. 99)

       On April 10, 2015, the Court issued an Order directing the parties to file a
Stipulation and Proposed Order Dismissing the action on or before May 13, 2015 or, in
the alternative a Joint Status Report. On May 13, 2015, the parties filed a Joint Status
Report re Settlement indicating that they would be dismissing the action no later than
June 29, 2015 (Dkt. No. 101). On May 26, 2015, the Court issued an Order directing the
parties to file a Stipulation and Proposed Order Dismissing the action on or before June
29, 2015 or, in the alternative a Joint Status Report.

      The Order specifically warned Plaintiff that the Court could dismiss this action if
good cause was not shown for any extension of time and no dismissal was filed.

      To date, however, no dismissal and/or status report has been filed with this Court.
Accordingly, the Court hereby dismisses the action without prejudice for failure to
respond to the Court’s Order.

          IT IS SO ORDERED.                                 Initials of Preparer                 rf




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